       Case 3:23-cr-00465-FM           Document 105        Filed 08/28/23    Page 1 of 3




                        UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TEXAS
                              EL PASO DIVISION

USA                                             §
                                                §
vs.                                             §        NO: EP:23-CR-00465(1)-FM
                                                §
(1) JOSEPH ROCHA-CHAPARRO                       §
TN: Joseph Anthony Rocha-Chaparro               §


            REPORT AND RECOMMENDATION OF MAGISTRATE JUDGE
                    UPON DEFENDANT’S PLEA OF GUILTY

       On this 28th day of August, 2023, the Defendant and counsel appeared before the Court.

After being admonished as required by Rule 11, Fed.R.Crim.P., the Defendant pled guilty to

Count One of the Superseding Indictment charging him with Conspiracy to Traffic in Firearms,

in violation of Title 18 U.S.C. § 933, pursuant to a Plea Agreement.

       Accordingly, the Court makes the following findings:

       1.      The Defendant has consented to the entry of a guilty plea before a Magistrate

               Judge, subject to final approval and sentencing by the presiding United States

               District Judge.

       2.      The Defendant fully understands the oath and the consequences of failing to tell

               the truth at the plea hearing.

       3.      The Defendant fully understands the right to plead “not guilty” and to be tried by a

               jury.

       4.      The Defendant fully understands the right to be represented by counsel at trial and

               at every other stage of the proceeding.
Case 3:23-cr-00465-FM           Document 105     Filed 08/28/23        Page 2 of 3




5.   The Defendant fully understands the right to a trial and that if the Defendant were

     to elect to go to trial, the Defendant would have the right to confront and

     cross-examine      adverse    witnesses,   to   be    protected     from   compelled

     self-incrimination, to testify and present evidence, and to compel the attendance of

     witnesses.

6.   The Defendant fully understands that if the guilty plea is accepted, there will not

     be a trial in this case.

7.   The Defendant fully understands the nature of the charge and the maximum

     possible penalties, including any imprisonment, applicable mandatory minimum

     penalties, fine, term of supervised release, as well as any forfeiture or restitution.

     The defendant also understands the court’s obligation to impose a special

     assessment.

8.   The Defendant fully understands that in determining sentence, the sentencing

     court will consider the applicable Sentencing Guidelines, including any departures

     that might be applicable, as well as the sentencing factors under 18 U.S.C. §

     3553(a). The Defendant also fully understands that although the sentencing court

     will consider the applicable sentencing guidelines, they are advisory in nature.

9.   The Defendant fully understands the terms of the Plea Agreement. The Defendant

     also fully understands that in the Plea Agreement, the Defendant has waived the

     right to appeal or collaterally attack the sentence or conviction to be imposed by

     the District Judge. The Defendant also understands that, if the court does not

     follow or apply any recommended or requested sentencing adjustments contained
        Case 3:23-cr-00465-FM          Document 105         Filed 08/28/23   Page 3 of 3




               in the Plea Agreement, the Defendant will have no right to withdraw the plea of

               guilty.

       10.     The Defendant’s plea was not induced by any promises, other than those set forth

               in the Plea Agreement, and the Defendant’s plea was not induced by any threats,

               force or threats of force.

       11.     The Defendant is competent to enter a plea.

       12.     The Defendant’s plea is made freely, knowingly, and voluntarily.

       13.     There is a factual basis to support the plea of guilty.

                                     RECOMMENDATION

       Based on the foregoing, it is recommended to the district judge that the Defendant’s plea

of guilty be accepted and that a judgment of guilt be entered.

       SIGNED and ENTERED this 28th day of August, 2023.


                                                     ______________________________
                                                     MIGUEL A. TORRES
                                                     UNITED STATES MAGISTRATE JUDGE


                                             NOTICE

FAILURE TO FILE WRITTEN OBJECTIONS TO THE FINDINGS AND
RECOMMENDATION CONTAINED IN THE FOREGOING REPORT, WITHIN
FOURTEEN DAYS FROM THE DATE OF SERVICE OF SAME, MAY BAR DE NOVO
DETERMINATION BY THE DISTRICT JUDGE OF AN ISSUE COVERED HEREIN
AND SHALL BAR APPELLATE REVIEW OF SUCH FACTUAL FINDINGS AS MAY
BE ACCEPTED OR ADOPTED BY THE DISTRICT JUDGE.
